          Case 5:18-cv-01367-AB-AS Document 3 Filed 06/26/18 Page 1 of 1 Page ID #:100
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR: Plaintiff Monster Energy Company

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
MONSTER ENERGY COMPANY, a Delaware                                             CASE NUMBER:

Corporation,                                                                                          5:18-cv-1367
                                                              Plaintiff(s),
                                     v.
THUNDER BEAST LLC, a District of Columbia
                                                                                              CERTIFICATION AND NOTICE
limited liability company;
                                                                                                OF INTERESTED PARTIES
STEPHEN NORBERG, an individual,                                                                     (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                     Plaintiff MONSTER ENERGY COMPANY
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                PARTY                                                                     CONNECTION / INTEREST
MONSTER ENERGY COMPANY                                                        Plaintiff

MONSTER BEVERAGE CORPORATION                                                  Parent Corporation of Monster Energy Company

THE COCA-COLA COMPANY                                                         Shareholder owning approximately 16.7% of common stock
                                                                              of Monster Beverage Corporation

THUNDER BEAST LLC                                                             Defendant

STEPHEN NORBERG                                                               Defendant




         June 26, 2018                                     /s/ Matthew S. Bellinger
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff Monster Energy Company


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
